                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                        )
                                                 )        Case No. 1:15-cr-91
 v.                                              )
                                                 )        Judge Travis R. McDonough
 JOSHUA CARVER                                   )
                                                 )        Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

 the Court: (1) grant Defendant’s motion to withdraw his not guilty plea as to Count One of the

 thirty-two-count Indictment; (2) accept Defendant’s guilty plea as to the lesser included offense

 of the charge in Count One of the Indictment, that is of conspiracy to distribute and possess with

 intent to distribute five grams or more of methamphetamine (actual) and fifty grams or more of a

 mixture and substance containing methamphetamine, a Schedule II controlled substance, in

 violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B); (3) adjudicate the Defendant guilty

 of lesser included offense of the charge in Count One of the Indictment, that is of conspiracy to

 distribute and possess with intent to distribute five grams or more of methamphetamine (actual)

 and fifty grams or more of a mixture and substance containing methamphetamine, a Schedule II

 controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B); (4) defer a

 decision on whether to accept the plea agreement until sentencing; and (5) order that Defendant

 remain in custody until sentencing in this matter. (Doc. 401.) Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees with

 Magistrate Judge Lee’s report and recommendation. Accordingly, the Court ACCEPTS and



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 ADOPTS the magistrate judge’s report and recommendation (Doc. 401) pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:

    1. Defendant’s motion to withdraw his not guilty plea as to lesser included offense of the

       charge in Count One of the Indictment, that is of conspiracy to distribute and possess

       with intent to distribute five grams or more of methamphetamine (actual) and fifty grams

       or more of a mixture and substance containing methamphetamine, a Schedule II

       controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B)of the

       Indictment is GRANTED;

    2. Defendant’s plea of guilty to lesser included offense of the charge in Count One of the

       Indictment, that is of conspiracy to distribute and possess with intent to distribute five

       grams or more of methamphetamine (actual) and fifty grams or more of a mixture and

       substance containing methamphetamine, a Schedule II controlled substance, in violation

       of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) is ACCEPTED;

    3. Defendant is hereby ADJUDGED guilty of lesser included offense of the charge in

       Count One of the Indictment, that is of conspiracy to distribute and possess with intent to

       distribute five grams or more of methamphetamine (actual) and fifty grams or more of a

       mixture and substance containing methamphetamine, a Schedule II controlled substance,

       in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B);

    4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

    5. Defendant SHALL REMAIN in custody until sentencing in this matter which is

       scheduled to take place on April 21, 2017 at 9:00 a.m. [EASTERN] before the

       undersigned.

    SO ORDERED.




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                                    /s/Travis R. McDonough
                                    TRAVIS R. MCDONOUGH
                                    UNITED STATES DISTRICT JUDGE




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